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                                                                    October 31, 2021
VIA ECF & E-MAIL
United States District Court
Southern District of New York
Attn: John P. Cronan, U.S.D.J.
500 Pearl Street, Courtroom 12D
New York, NY 10007-1312
cronannysdchambers@nysd.uscourts.gov

Re:    Gioules v. Antigua Pharmacy LLC, et ano.
       Case No.: 1:21-cv-6400 (JPC) (SDA)
       Plaintiff’s Letter Motion re Amendment of Mediation Referral Order

Dear Judge Cronan:

This office represents the Plaintiff in the above-referenced case. Plaintiff writes to respectfully
request an Order requiring Defendant appear by counsel at the mediation in the process of being
scheduled in accordance with this Court’s October 19, 2021 Mediation Referral Order.

This is a wage-and-hour case brought under the Fair Labor Standards Act (“FLSA”) and the New
York Labor Law (“NYLL”) to recover overtime wages, spread of hours compensation, illegal
deductions from wages, damages for violations of recordkeeping violations, and damages for
retaliation against the Plaintiff for threatening him after he complained about his wages.

As set forth previously, it is improper for Defendant Antigua Pharmacy LLC to appear without
counsel. See Grace v. Bank Leumi Trust Co., 443 F.3d 180, 192 (2d Cir. 2006) (“[I]t is settled
law that a corporation may not appear in a lawsuit against it except through an attorney, and that,
where a corporation repeatedly fails to appear by counsel, a default judgment may be entered
against it pursuant to Rule 55...”) (internal citations omitted); see also Eagle Assocs. v. Bank of
Montreal, 926 F.2d 1305, 1308 (2d Cir. 1991) (“[W]e have long required corporations to appear
through a special agent, the licensed attorney”). This requirement extends to limited liability
companies. See Lattanzio v. COMTA, 481 F.3d 137 (2d Cir. 2007) (recognizing the rule that a
limited liability company must appear in federal court only through a licensed attorney).

However, despite this clear mandate under the law, it appears that Defendants intend to continue
defending themselves pro se. Indeed, on or about October 28, 2021, in correspondence with
representatives of this Court’s ADR Program, your undersigned was informed that the Mediation
Referral Order was sent “without caveats, so it would be possible to proceed to mediation even if
the corporation does not have counsel.”


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The representatives of this Court’s ADR Program also stated that, in any event, it did not have
authority to compel the Defendants to retain counsel for the corporate defendant.

Accordingly, Plaintiff respectfully seeks an Order requiring Defendant Antigua Pharmacy LLC to
appear by counsel at any scheduled mediation.

Plaintiff thanks this honorable Court for its time and attention to this case.

Dated: Forest Hills, New York
       October 31, 2021                                Respectfully submitted,

                                                       SHALOM LAW, PLLC
                                                       /s/ Jonathan Shalom
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